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                                                                                                       United States District Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
UNITED STATES DISTRICT COURT                                                                 May 17, 2023
                                                                       SOUTHERN DISTRICT OF TEXAS
                                                                                                          Nathan Ochsner, Clerk


                   Motion and Order for Admission Pro Hae Vice

      Di;'ision        IHouston                          I Case Number I                     4:22-cv-4210

                                              WSTIN PULLIAM

                                        ...
                                                      versus
                                                          .

COUNTY OF FORT BEND, TEXAS; SHERIFF ERIC FAGAN, in his individual capacity; OFFICER ROBERT HARTFIELD, in his
 individual capacity; OFFICER JONATHAN GARCIA, in his individual capacity; OFFICER TAYLOR ROLLINS, in his individual
                            capacity; and OFFICER RICKY RODRIGUEZ, in his individual capacity



        · Lawyer's Name                     • Christen Mason Hebert
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     Licensed: State & Number               : TX Bar No. 24099898
      Federal Bar & Ni.Imber


Name of party applicant seeks to                                 Plaintiff, Justin Pulliam
appear for:


Has applicant been sanctioned by any bar association or court? Yes _ __                          No - -✓- -

On a separate sheet for each sanction, please supply the full particulars.


Dated:        5/10/2023         · Signed:                      Isl Christen Mason Hebert



The state bar reports that the applicant's status is: Active


Dated: 05/11/2023                Clerk's signature


               Order
                                                      This lawyer is admitted pro hac vice.

Dated: ----..~-I,_{-i-3___ _                         ~~-       United States District Judge
